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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
-----------------------------------------------------------------X
PATRICE CARGO,
                                                                                Civil Action No.
                                            Plaintiff,

                 v.

MAPLEWOOD OPERATING, LLC, individually                                          COMPLAINT
and d/b/a MAPLEWOOD NURSING AND
REHABILITATION CENTER; and KEVIN
STANTON, individually,


                                            Defendants.                         Plaintiff Demands a
                                                                                Trial by Jury

-----------------------------------------------------------------X

Plaintiff, PATRICE CARGO, as and for her Complaint against the above Defendants

respectfully alleges upon information and belief as follows:



                                         NATURE OF THE CASE

    1. Plaintiff complains pursuant to Title VII of the Civil Rights Act of 1964, as codified, 42

        U.S.C. §§ 2000e to 2000e-17 (amended in 1972, 1978 and by the Civil Rights Act of 1991,

        Pub. L. No. 102-166 (“Title VII”)), as well as Pennsylvania State Law, and seeks damages

        to redress the injuries Plaintiff has suffered as a result of being discriminated against on

        the basis of her sex/gender, subjected to a hostile work environment on the basis of the

        same, and subjected to quid pro quo sexual harassment.1


                                     JURISDICTION AND VENUE


1
 As Plaintiff’s analogous claims under the Pennsylvania Human Relations Act and Philadelphia Fair Practices
Ordinance are not yet ripe, Plaintiff reserves the right to amend her Complaint to add such claims once they become
available to her.
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2. This action involves questions of federal law under Title VII of the Civil Rights Act of

   1964.

3. This court has supplemental jurisdiction over the forthcoming state and city causes of

   action.

4. Venue is proper in this district based upon the fact that Plaintiff was employed by

   Defendants within the County of Philadelphia, Commonwealth of Pennsylvania, within

   the Eastern District of Pennsylvania. Additionally, the events at issue took place in

   Philadelphia County, Pennsylvania within the Eastern District of Pennsylvania.

5. Around November 18, 2019, Plaintiff dual-filed charges with the Equal Employment

   Opportunity Commission (“EEOC”), Pennsylvania Human Relations Commission

   (“PHRC”), and Philadelphia Commission on Human Relations (“PCHR”) against

   Defendants as set forth herein.

6. Around August 12, 2020, the EEOC issued Plaintiff her Notice of Right to Sue.

7. This action is being commenced within 90 days of receipt of the EEOC Notice of Right

   to Sue.



                                        PARTIES

8. Plaintiff PATRICE CARGO (hereinafter referred to as “Plaintiff” and/or “CARGO”) is

   seeking damages to redress the injuries Plaintiff has suffered as a result of being

   discriminated against and harassed by her employer on the basis of her sex/gender,

   sexually assaulted at her workplace, and forced to endure a hostile work environment.
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9. Plaintiff CARGO is an individual female who resides in the County of Philadelphia

   within the Commonwealth of Pennsylvania.


10. At all times material, Defendant MAPLEWOOD OPERATING, LLC (hereinafter

   referred to as Defendant and/or “MAPLEWOOD”) was and is a domestic limited liability

   company duly authorized to do business within the Commonwealth of Pennsylvania


11. At all times material, Defendant MAPLEWOOD conducted and continues to conduct

   business under the registered fictitious name of MAPLEWOOD NURSING AND

   REHABILITATION CENTER.


12. At all times material, Defendant MAPLEWOOD operated a nursing and rehabilitation

   center located at 125 W. Schoolhouse Lane, Philadelphia, PA 19144.


13. At all times material, Defendant KEVIN STANTON (hereinafter “STANTON”) was

   employed by Defendant MAPLEWOOD as a Supervisor at their 125 W. Schoolhouse

   Lane location.


14. At all times material, Defendant STANTON held direct supervisory authority over

   Plaintiff.




                                    MATERIAL FACTS

15. Plaintiff claims a continuous practice of discrimination and claims a continuing violation

   and makes all claims herein under the continuing violations doctrine.

16. Around February 2019, Defendant MAPLEWOOD hired Plaintiff as a Housekeeper at

   their 125 W. Schoolhouse Lane facility.
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17. At all times material, Plaintiff reported directly to Defendant STANTON.

18. Very soon after Plaintiff began her employment, STANTON began to show sexual

   interest in her.

19. Initially, STANTON would act overtly friendly to Plaintiff and would ask her invasive

   personal questions, such as whether she had a boyfriend.

20. However, STANTON soon began to much more aggressively sexually harass Plaintiff on

   a regular basis.

21. By means of example, STANTON would repeatedly make sexually explicit comments to

   Plaintiff such as asking if she “got horny,” asking “did you give your boyfriend some?”

   [referring to sexual intercourse] and asking “are you trying to have a threesome?” when

   he observed her speaking with male coworkers.

22. Even more egregiously, STANTON would also state to Plaintiff that he “need[ed] some

   pussy” and demanded that she send him explicit photos of her genitalia.

23. STANTON would also regularly ask Plaintiff to come to his outside of work, and would

   even brazenly state that he was coming to “pick [her] up” even when Plaintiff refused his

   advances. STANTON’s actions were so pervasive that Plaintiff was forced to regularly

   come up with excuses for why she was not available to interact with him outside of work.

24. On another occasion, STANTON insisted that Plaintiff drive to a store with him in his

   personal vehicle. During the drive back, STANTON repeatedly demanded that Plaintiff

   show him her breasts. When Plaintiff refused, STANTON threatened to cut her work

   hours, stating that he had the power to alter her work schedule.

25. Accordingly, fearful of losing her job if she continued to refuse, Plaintiff showed

   STANTON her breasts to avoid the threatened negative job consequences.
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26. During this same time, STANTON would typically become angry if Plaintiff spent time

   at work speaking with any of her female coworkers.

27. In one such incident, STANTON accosted Plaintiff after apparently observing her

   speaking with a female coworker during a lunch break. In doing so, STANTON came to

   the third floor of the building in which Plaintiff was working and demanded to know

   what Plaintiff had been discussing with her coworker. When Plaintiff responded that they

   had just been speaking about general things as friends, STANTON angrily left, but later

   telephoned Plaintiff and yelled at her to “limit [her] conversation” with her coworkers.

28. Following that incident, Plaintiff’s coworker telephoned her and confided in her that

   STANTON had been repeatedly sexually harassing her as well, and had even exposed his

   penis to her and sexually assaulted her by grabbing her vaginal area on one occasion. In

   response, Plaintiff disclosed that STANTON had been harassing her as well.

29. The day after that telephone call, when STANTON observed Plaintiff at work, he

   grabbed his penis through his pants while staring at her and stated “you gonna [sic] miss

   this.”

30. Once again, Plaintiff was disturbed and highly upset by STANTON’s graphic sexual

   harassment.

31. Around June 2, 2019, while Plaintiff was cleaning on her assigned floor, STANTON

   visited her building and began following her around while she cleaned. Eventually,

   STANTON told Plaintiff to meet him in the basement because he “needed to discuss

   something” with her, and then left the room.

32. Plaintiff was immediately suspicious of STANTON’s intentions, as meetings between

   staff were typically called via loudspeaker, not in person.
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33. Accordingly, Plaintiff continued working on the third floor. STANTON then came back

   into the room where she was cleaning and angrily stated “Didn’t I tell you to meet me in

   the basement?”

34. Fearing that STANTON would become angrier if she failed to do so, Plaintiff stopped

   cleaning and began to walk towards the basement of the building.

35. As Plaintiff was highly concerned about STANTON’s intentions given his history of

   sexually harassing her, Plaintiff intentionally got off the building’s elevator at the ground

   floor and took the stairs to the basement so that she would be in full view of the ground

   floor’s security cameras.

36. When Plaintiff entered STANTON’s office in the basement, he abruptly kicked away a

   barrel that had been holding the door open, grabbed Plaintiff, aggressively turned her

   around, and pressed her against the door with her hands pinned above her head.

   STANTON then turned off the office light and began rubbing his crotch against

   Plaintiff’s buttocks, grabbing her breasts from behind, and kissing her neck. STANTON

   then asked, “Do you want it?” to which Plaintiff immediately yelled “No!” and tried to

   get away from his grasp.

37. As STANTON was much larger than Plaintiff, she was unable to easily get away from his

   ongoing assault. Accordingly, STANTON continued to assault Plaintiff and press his

   body against her despite her protests. STANTON repeatedly stated, “Do you want it?”

   while doing so, until he eventually stated in words or substance that “I’m not going to

   beg you” and turned the lights back on.

38. However, once he did so, STANTON apparently changed his mind, and once again

   turned the lights off and assaulted Plaintiff in the same way.
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39. Eventually, STANTON released Plaintiff and sent her back to her assigned floor.

40. Disturbed, horrified, and frightened of the violent assault, Plaintiff notified

   MAPLEWOOD’s Human Resources department about STANTON’s assault and ongoing

   harassment around Friday, June 7. Plaintiff stated to Human Resources that she also

   feared retaliation from STANTON for reporting the assault, and that she was not willing

   to return to work as scheduled on June 12 as a result.

41. Incredibly, Defendants informed Plaintiff that she would need to inform her supervisor if

   she was calling out – the same supervisor (STANTON) who had violently sexually

   assaulted her.

42. Accordingly, Plaintiff communicated via text message that she would not be working that

   day. Plaintiff also ensured that Defendants were aware that she had called out that day to

   avoid the absence being designated a “no call” absence.

43. Around the same time, Defendants’ Human Resources department contacted Plaintiff to

   ask if she was willing to file a police report about STANTON’s assault, which Plaintiff

   did that same day.

44. Plaintiff then informed MAPLEWOOD’s Human Resources department that she had

   done so and asked what the next steps would be. In response, MAPLEWOOD informed

   Plaintiff that the police report would be “in the file if anything else happened.” The only

   further information the MAPLEWOOD would provide Plaintiff was that STANTON

   “wouldn’t be there” on days that Plaintiff worked.

45. Accordingly, Defendants failed to take immediate appropriate action following Plaintiff’s

   report of being violently sexually assaulted by her supervisor.
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46. Furthermore, on at least two occasions, STANTON visited Plaintiff’s place of work

   following his departure from MAPLEWOOD, causing her substantial distress and to fear

   for her safety upon seeing him at her workplace. On one occasion when Plaintiff reported

   this to her supervisor, she was simply told in words or substance to “ignore [him]”

   because she should “act like a grown woman.”

47. On another occasion, Plaintiff reported STANTON’s presence to Human Resources after

   seeing him on MAPLEWOOD’s property, and was again largely ignored.

48. As a result of Defendants’ conduct, Plaintiff was caused to sustain serious and permanent

   personal injuries, including permanent psychological injuries.

49. As a result of Defendants’ actions, Plaintiff felt extremely humiliated, degraded,

   victimized, embarrassed and emotionally distressed.

50. As a result of the acts and conduct complained of herein, Plaintiff has suffered and will

   continue to suffer the loss of income, the loss of salary, bonuses, benefits and other

   compensation which such employment entails, and Plaintiff also suffered future

   pecuniary losses, emotional pain, humiliation, suffering, inconvenience, loss of

   enjoyment of life, and other non-pecuniary losses. Plaintiff has further experienced

   severe emotional and physical distress.

51. As Defendant’s conduct has been malicious, willful, outrageous, and conducted with full

   knowledge of the law, Plaintiff demands Punitive Damages as against all Defendants,

   jointly and severally.

52. The above are just some examples of some of the discrimination and harassment to which

   Defendants subjected Plaintiff.
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53. Defendants have exhibited a pattern and practice of not only discrimination but also

   retaliation.

54. Plaintiff claims alternatively (in the event that Defendants claim so or that the Court

   determines) that Plaintiff is an Independent Contractor, and Plaintiff makes all applicable

   claims for the above conduct and facts under the applicable law pertaining to Independent

   Contractors.


                         AS A FIRST CAUSE OF ACTION
                     FOR DISCRIMINATION UNDER TITLE VII

55. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

   this complaint.

56. Title VII states in relevant parts as follows: § 2000e-2. [Section 703](a) Employer

   practices It shall be an unlawful employment practice for an employer – (1) to fail or

   refuse to hire or to discharge any individual, or otherwise to discriminate against any

   individual with respect to his compensation, terms, conditions, or privileges of

   employment, because of such individual’s race, color, religion, sex, or national origin.”

57. Defendants engaged in unlawful employment practices prohibited by 42 U.S.C. § 2000e

   et seq., by discriminating against Plaintiff because of her sex/gender by subjecting her to

   a hostile work environment.



                        AS A SECOND CAUSE OF ACTION
                     FOR DISCRIMINATION UNDER TITLE VII

58. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

   this complaint.
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    59. Title VII states in relevant parts as follows: § 2000e-2. [Section 703](a) Employer

        practices It shall be an unlawful employment practice for an employer – (1) to fail or

        refuse to hire or to discharge any individual, or otherwise to discriminate against any

        individual with respect to his compensation, terms, conditions, or privileges of

        employment, because of such individual’s race, color, religion, sex, or national origin.”

    60. Defendants engaged in unlawful employment practices prohibited by 42 U.S.C. § 2000e

        et seq., by discriminating against Plaintiff because of her sex/gender by subjecting her to

        quid pro quo sexual harassment.


                                AS A THIRD CAUSE OF ACTION
                                 FOR ASSAULT AND BATTERY
                              UNDER PENNSYLVANIA STATE LAW
                                (As against Defendant STANTON)


    61. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

        this complaint.

    62. On several different occasions, Defendant STANTON assaulted and battered Plaintiff.

    63. Plaintiff did not consent to the contact, and the contact was unwanted and offensive.

    64. As a result, Plaintiff suffered damages.

                                             JURY DEMAND

Plaintiff requests a jury trial on all issues to be tried.


                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

in an amount to be determined at the time of trial plus interest, including but not limited to all

emotional distress and back pay and front pay, punitive damages, liquidated damages, statutory
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damages, attorneys’ fees, costs, and disbursements of action; and for such other relief as the

Court deems just and proper.


Dated: Philadelphia, Pennsylvania                    DEREK SMITH LAW GROUP, PLLC
       October 9, 2020                               Attorneys for Plaintiff Patrice Cargo


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